           Case
            Case2:10-cr-00217-RFB-BNW
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 5
                                   UNITED STATES DISTRICT COURT
 6
                                          DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,                        )
 8                                                    )
                           Plaintiff,                 )
 9                                                    )
             v.                                       ) 2:10-CR-217-PMP-(PAL)
10                                                    )
   ROSSEN DASKALOV,                                   )
11 aka Vesko Simeonov,                                )
                                                      )
12                         Defendant.                 )
13                                      ORDER OF FORFEITURE

14           This Court found on January 22, 2013, that ROSSEN DASKALOV, aka Vesko Simeonov,

15 shall pay a criminal forfeiture money judgment of $1,072,297.64 in United States Currency, pursuant

16 to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28,

17 United States Code, Section 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21,

18 United States Code, Section 853(p). Preliminary Order of Forfeiture, ECF No. 320.

19           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

20 States recover from ROSSEN DASKALOV, aka Vesko Simeonov, a criminal forfeiture money

21 judgment in the amount of $1,072,297.64 in United States Currency pursuant to Fed. R. Crim. P.

22 32.2(b)(4)(A) and (B); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

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 1 Code, Section 2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United States

 2 Code, Section 853(p)

 3         DATED 1st day of May 2013.

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 5
                                                UNITED STATES DISTRICT JUDGE
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 1                                        PROOF OF SERVICE

 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with copies of the Order of Forfeiture on May 1, 2013, by the below identified

 4 method of service:

 5         CM/ECF:
 6         Michael J. Miceli                                  John J. Momot, Jr.
           Law Office of Thomas F. Pitaro                     John J. Momot, Ltd.
 7         1212 South Casino Center Blvd.                     520 South Fourth Street Ste. 300
           Las Vegas, NV 89104                                Las Vegas, NV 89101
 8         thomaspitaro@yahoo.com                             momotlawfirm@gmail.com
           Attorney for Rossen Daskalov                       Attorney for Dimitar Dimitrov
 9
           Terrence M. Jackson                                Michael W. Sanft
10         Law Office of Terrence M. Jackson                  Sanft Law
           624 South Ninth Street                             520 S. 4th St.
11         Las Vegas, NV 89101                                Las Vegas, NV 89101
           Terry.Jackson.Esq@gmail.com                        Michael@sanftlaw.com
12         Attorney for Dragomir Taskov                       Attorney for Boyan Gueorguiev
13

14

15                                                     /s/ Ray Southwick
                                                       Ray Southwick
16                                                     Forfeiture Support Associates Paralegal
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